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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

BRABUS GmbH,                                             )
                                                         )    Case No. 20-cv-3720
                Plaintiff,                               )
                                                         )
                                                         )    Judge Charles R. Norgle
v.                                                       )
                                                         )
THE INDIVIDUALS, CORPORATIONS,                           )
LIMITED LIABILITY COMPANIES,                             )
PARTNERSHIPS AND UNINCORPORATED                          )
ASSOCIATIONS IDENTIFIED                                  )
ON SCHEDULE A HERETO,                                    )
                                                         )
                Defendants.                              )

                      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff BRABUS GmbH
hereby dismisses with prejudice all causes of action in the complaint against the following Defendants
identified in Schedule A. Each party shall bear its own attorney’s fees and costs.

        No.     Defendant
        150     quickdrying
        151     racingcar


        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.

                                         Respectfully submitted,
Dated: August 12, 2020                   By:     s/Michael A. Hierl             _
                                                 Michael A. Hierl (Bar No. 3128021)
                                                 William B. Kalbac (Bar No. 6301771)
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                                                 Attorneys for Plaintiffs
                                                 BRABUS GmbH
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on August 12, 2020.


                                                          s/Michael A. Hierl
